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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE MlDDLE DlSTR|CT OF PENNSYLVAN|A

FREDER|CK F. FAGAL, JR.,
C|VIL ACT|ON NO. 3:14-CV-2404

P|aintiff,
v. (JUDGE CAPUTO)

MARYWOOD UN|VERS|TY,

 

Defendant.

ORDER

 

l. The above-captioned civil case has been placed on the APR|L, 2018, Trial List
in WlLKES-BARRE, PENNSYLVAN|A.

ll. Jury selection will take place in Courtroom #3, MAX ROSENN UN|TED STATES
COURTHOUSE, 197 SOUTH MA|N STREET. WlLKES-BARRE. PENNSYLVAN|A
Qginning at 9:30 a.m.. on MONDAY. APR|L 23_,_2018.

||l. A pretrial conference will be held on WEDNESDAY, APR|L 4, 2018 at 11:00
a.m., in chambers, Suite 235, Max Rosenn United States Courthouse, 197 South Main
Street, Wilkes-Barre, Pennsylvania.

lV. All motions in /imine, together with supporting briefs, shall be filed by
MARCH 12, 2018.

V. ln accordance with Local Rule 16.3(b), counsel who expect to try the case shall
hold a conference prior to the deadline for filing pretrial memoranda required by Local Ru|e
16.6. This conference shall be in person unless the Court, upon written request, approves

another arrangement At the conference, all exhibits that any party intends to introduce at

 

 

 

 

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trial (whether in the case in chief or in rebutta|) shall be identified, numbered, exchanged,
and listed on the form available on the Court’s website http://www.pamd.uscourts.gov or by
contacting the C|erk’s Office. Any objections to a particular exhibit of an opposing party shall
be noted.

V|. Counsel should be familiar with the Court’s Jury Evidence Recording
System (JERS) and the requirements for submission of electronic evidence by
accessing the Midd|e District’s website at http:llwww.r)amd.uscourts_.govliers.

V||. Counsel shall also exchange lists of potential witnesses with their addresses;
attempt in good faith to agree on a comprehensive statement of all undisputed facts, which
statement shall be included in plaintist pretrial memorandum; review all oral and videotape
depositions to be used at trial for the purpose of preparing the certificate required by Local
Rule 30.10; and, discuss settlement

Vlll. |n accordance with Local Rule 16.6, counsel for each party sha||, at least five
(5) days prior to the Pretrial Conference, file and serve on all other parties a Pretrial
Memorandum containing the information requested in the form set forth in Appendix B to the
Local Ru|es.

lX. Counsel who will try the case shall attend the pretrial conference unless the
Court, upon written request, approves the substitution of another attorney who is fully familiar
with the case and has the authority required by Fed.R.Civ.P. 16(c) and Local Rule 16.2. |f
an attorney for a party does not have complete settlement authority, the party or person with
full settlement authority shall be available by telephone during the pretrial conference.
Counsel must notify the person or committee with settlement authority of the requirements

of Local Rule 16.2, as well as the date of the pretrial conference and the date of tria|.

 

 

 

 

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X. |f a trial brief is required, counsel shall provide it to the Court and serve copies
on all opposing counsel, and it shall conform to Local Rule 39.7.

X|. All requests for jury instructions shall be filed five (5) days prior to
selection of the jury and shall otherwise comply with Local Rule 51 .1. Specia| verdict
questions must also be filed prior to the selection of the jury. Requests for jury
instructions and special verdict questions should also be submitted to Chambers via
email (dawn wvchock@pamd.uscourts__.ggy) in Word format.

X||. Whenever any civil action scheduled for jury trial is settled or otherwise
disposed of in advance of the actual tria|, jurors' costs, including mileage and per diem, shall
be assessed equally against the parties unless Chambers is notified of the settlement in
sufficient time to permit the C|erk to advise the jurors that their attendance will not be
necessary. Notice before 2200 p.m. on the last business day preceding the day on which the
trial of the action is to start shall be adequate for this purpose.

Xlll. Failure to abide by this Order or LocalRules16.2, 16.3 and 16.6, orthe failure
of any party or lawyer to exercise reasonable diligence to settle a case at the earliest
practicable time may result in imposition of sanctions listed in Local Rule 83.3.

XlV. ln the event videos or depositions are to be used at trial, the parties should
plan well organized and concise examinations of witnesses. ldea||y, a trial deposition should
not exceed one hour or so. The Court may disallow the presentation of evidence by this
means where to do so is determined to be burdensome to the fact finder. Objections to
testimony that cannot be resolved by counsel shall be brought to the Court’s attention at

least two (2) days prior to trial.

 

 

 

 

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XV. Courtroom Techno|ogy. Counsel are directed to access the Court’s
website at http:l/www.pamd.uscourts_.govlcourtroom-techno|ogy for information
regarding technology available in the courtroom as well as any equipment testing.

XVl. ln the event of inclement weather, no earlier than 7:00 a.m. on the day of the
proceeding, counsel are directed to call (570) 346-7277. When the recorded greeting
answers, dial zero and a Court Security Officer will advise as to whether the proceeding is
canceled or delayed.

XVll. The objective of this Order is to provide all parties with timely resolution of
their claims and to facilitate as efficiently as possible an appropriate disposition of the

issues at trial. The cooperation of counsel is essential to this purpose.

Date:jy%dgé /X % QA/L/Z>

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